Case 2:05-cr-20276-.]DB Document 12 Filed 08/24/05 Page 1 of 2 Page|D 17

 

   
  

 

 

IN THE UNITED sTATEs DISTRICT COURT F"ED B"f' -».~…_. D.C.
FoR THE WESTERN DISTRICT oF TENNESSEE
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UNITED sTATEs 0F AMERICA CLEV§,;§~{:;§' "lr§"’;l§§§"lm
i`.'Lz tit :1¢, l‘\’l“ i'rl. {'l
V.
CHARLES R. sMITH 05cr20276-B
0RDER oN ARRAIGNMENT
This cause came to be heard on OB/lélq /05 the United States Attorney

 

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME TED H'Mkl who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District J'udge, such period is extended

5 5 l he defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
,,____.._.
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UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:]512(0)(2)
TAMPERING WITH A WITNESS, VICTIM OR INFORMANT

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UNITED srArE D"ISIC COURT - wEsERNT D's'rRCT 0 TESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20276 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Joseph C. Murphy

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Honorable J. Breen
US DISTRICT COURT

